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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8    UNITED STATES OF AMERICA,
 9                                                         CASE NO. CR02-17 RSM

10            Plaintiff,                                   PROPOSED FINDINGS OF
11                                                         FACT AND DETERMINATION
                 v.                                        AS TO ALLEGED SUPPLEMENTAL
12                                                         VIOLATIONS OF SUPERVISED
      KAMAU CURNAL,                                        RELEASE
13
              Defendant.
14
15                                           INTRODUCTION

16         I conducted a hearing on alleged supplemental violations of supervised release in this case on

17   December 14, 2005. The United States was represented by Ron Friedman. The defendant was

18   represented by Thomas Campbell. The proceedings were recorded on disk.

19                                  CONVICTION AND SENTENCE

20         Defendant had been convicted of Conspiracy to Distribute MDMA (Ecstacy), on or about

21   October 25, 2005. The Hon. Ricardo S. Martinez of this court sentenced Defendant to 30 months

22   of confinement, followed by 3 years of supervised release.

23         The conditions of supervised release included requirements that defendant comply with the

24   standard 13 conditions.

25                                    DEFENDANT'S ADMISSION

26         USPO Michael Larson alleged that Defendant violated the conditions of supervised release

27   in three respects:

28
     PROPOSED FINDINGS
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 1         (3)     Using amphetamine on or before November 8, and November 30, 2005, in violation
 2                 of standard condition number seven;
 3         (4)     Using methamphetamine on or before November 8, and November 30, 2005, in
 4                 violation of standard condition;
 5         (5)     Failing to report for drug testing as instructed on November 4, November 10 and
 6                 November 14, 2005; in violation of the special condition of supervised release
 7                 requiring participation, as instructed by the probation officer, in a program approved
 8                 by the probation office for treatment of narcotic addiction, drug dependency or
 9                 substance abuse, which may include testing to determine if the defendant has reverted
10                 to the used of drugs or alcohol.
11   At an initial hearing, I advised the defendant of these charges and of his constitutional rights. At
12   today’s hearing Defendant admitted violations #three through five, waived any hearing as to
13   whether it occurred, and consented to having the matter set for a disposition hearing before the
14   Hon. Ricardo S. Martinez..
15                       RECOMMENDED FINDINGS AND CONCLUSIONS
16         Based upon the foregoing, I recommend the court find that Defendant has violated the
17   conditions of his supervised release as alleged; and set the matter for a disposition hearing.
18         Defendant has been detained pending a final determination by the court.
19         DATED this 14th day of December, 2005.
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23                                                        MONICA J. BENTON
                                                          United States Magistrate Judge
24
25
     cc:   Sentencing Judge               :        Hon. Ricardo S. Martinez
26         Assistant U.S. Attorney        :        Ron Friedman
           Defense Attorney               :        Thomas Campbell
27         U. S. Probation Officer        :        Michael Larson
28
     PROPOSED FINDINGS
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